
PER CURIAM.
This cause is before us on petition for writ of certiorari to review the decision of the District Court of Appeal, First District, in McHaney v. State, reported at 295 So.2d 355 (Fla.App.1, 1974), which directly conflicts with Estevez v. State, 290 So.2d 138 (Fla.App.3d, 1974), decision approved by this Court, 313 So.2d 692 (Fla.1975). We have jurisdiction pursuant to Article V, Section 3(b)(3), Florida Constitution.
In view of our recent decision in Estev-ez v. State, supra, the decision of the District Court is quashed and this cause is remanded to the District Court with directions to enter a judgment not inconsistent with this opinion.
It is so ordered.
ADKINS, C. J., ROBERTS, OVER-TON and ENGLAND, JJ., and LEE, Circuit Judge, concur.
